
Curia, per Dunkin, Oh.
This court is satisfied with the decree, and it might be sufficient to affirm it. But it was argued in this Court that the plea of the statute had not been formally interposed. No such suggestion was made in the circuit court. The principal part of the testimony, as well as the argument, was in reference to the bar of the statute. There is, besides, not only no such ground of appeal from the decree, but the third ground of appeal assumes that the statute was well pleaded, and avers that the testimony on the part of the complainant withdrew the case from the bar of the statute; and the parties are not now agreed whether the statute was or was not formally pleaded.
The appeal is dismissed.
Johnson, Harper and Johnston, 00, concurred.
